CRIMINAL PROCEEDINGS - Sentencing

       UNITED STATES DISTRICT COURT FOR THE DISTRICT OF IDAHO

Judge David C. Nye                                   Date: December 1, 2021
Case No: 1:20-cr-202-DCN                             Deputy Clerk: Patti Richmond
Place: Boise, ID                                     Reporter: Anne Bowline
                                                     Time: 3:00 – 4:06 pm

                  UNITED STATES OF AMERICA vs DOUGLAS WOLD


Counsel for United States: Joshua D. Hurwit
Counsel for Defendant: Nicole Owens
Probation Officer: Michael Lee


(X) Court reviewed case history.
(X) Defendant previously entered a plea of GUILTY to Count One, Twelve and Thirteen of the
Indictment and agreed to the Forfeiture.
(X) Government moved to dismiss Counts Two through Eleven of the Indictment. Granted.
(X) Government advised Court that Rick Boardman (ex father-in-law) wanted to give a statement
to the Court. Ms. Owens objected. The Court overruled the objection and allowed Mr. Boardman
to give his statement to the court.
(X) Ingrid Wold (wife) gave statement to the court.
(X) There being no objection to the Presentence report, the Court accepts the report as its own
findings.
(X) Rule 11 Plea agreement.
(X) Counsel made sentencing recommendations to the Court.
(X) Defendant made remarks on his own behalf.
(X) Court granted 3rd level for acceptance of responsibility. Already provided for in the sentencing
recommendation. Granted.

Total Combined Offense Level 16 Criminal History Category IV Guideline Range of 33-41
months

(X) Court addressed 3553(a) factors and finds there are no grounds to sentence outside the
guideline range as stated on the record.


SENTENCE:
Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the court the defendant,
Douglas Wold, is hereby committed to the custody of the Bureau of Prisons to be imprisoned for
a term of forty-one (41) months on Counts 1, 12 and 13 to be served concurrently to one
another.
It is further ordered the defendant shall pay to the United States $300 special assessment which
shall be due immediately.

It is further ordered the defendant shall make restitution to the Clerk of the Court, 550 West Fort
Street, Suite 400, Boise, Idaho 83724, in the amount of $123,347.00 with interest. Additional
restitution is deferred pending a restitution hearing once new CJA counsel has been appointed.

The court finds the defendant does not have the ability to pay a fine. The court will waive the
fine in this case.

All monetary penalties are due and payable immediately.

Having considered the defendant’s financial resources, the Court orders payment under the
following schedule unless modified by the Court:

While in custody, the defendant shall submit nominal payments of not less than $25 per quarter
pursuant to the Bureau of Prisons' Inmate Financial Responsibility Program.

During the term of supervised release, the defendant shall submit nominal monthly payments of
10% of gross income, but not less than $100 per month.

The foregoing does not preclude collection efforts under 18 U.S.C. § 3613.

Upon release from imprisonment, the defendant shall be placed on supervised release for a term
of three (3) years. This term consists of terms of three years on Counts 1, 12 and 13, all such
terms to run concurrently to one another. Within 72 hours of release from the custody of the
Bureau of Prisons, the defendant shall report in person to the probation office in the district to
which the defendant is released.

The defendant shall comply with all mandatory, standard, and special conditions of supervised
release as outlined in the Sentencing Recommendation (Dkt.35).

Counsel for the Defendant advised the Court that she has a conflict with the remaining amount of
restitution and requested that new CJA counsel be appointed. There being no objection, the court
granted the motion. The Clerk of the Court shall appoint new CJA counsel to the defendant, only
for the purpose of restitution, after which a hearing will be scheduled.


(X) Defendant advised of penalties for violation of terms and conditions of supervised release.
(X) Right to appeal explained.
(X) Defendant will be credited with all time served in federal custody and recommended that he
be placed at Sheridan, OR.
(X) It is recommended that the defendant be placed in the RDAP program while incarcerated.
(X)Defendant remanded to the custody of the USM.
